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A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORlDA
                                                       TAMPA DlVlSlON



UNITED STATES OF AMERlCA                                      JUDGMENT IN A CRIMINAL CASE

                                                               CASE NUMBER: 8:05-cr-420-T-30TBM
                                                               USMNUMBER: 3981 7-01 8




                                                               Defendant's Attorney   Marcellno J. Huerta, 111, cja

m DEFENDANT:
-
X pleaded y i l t y to count(s) ONE of the Ind~ciment.
- pleaded nolo contendere to count(s) which was accepted by the court.
-was found gudty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

                                    Conspiracy to Possess W ~ t hIntent to 1980s                                      One
                                    D~smbute5 Kdograms or More of Cocarne


       The defendant is sentenced as provided in pages 2 through 6 ofthis judgment. The sentence is iniposedpursuant to the Sentemink
Reform Act of 1984.

- The defendant has been found not guilty on count(s)
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any than@ ,d
name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid' '
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in econqmic
circumstances.


                                                                                 Date of Impos~tionof Sentence: June 28.2007
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A 0 245B (Rev 06'05) Sheet 2 - imprisonment (Judgment in a Criminal Case)
Dcfendmt:            G I N 0 PUCCIO                                                                           Judgment - Page 2of
Case No.:            S:05-cr-420-T-3OTBM

                                                                IhI PRISONMENT

        After considering the advisory sentencing guidelines anti all of' the factors identified i n Title 18 I1.S.C'. 53
3553(a)(l)-(7), the court finds that the sentence imposed is sufficie~it,but not greater than aecessary. to comply ~ . i t l i
the statutory purposes of sentenci~ig.


         The defendant is herebg conmittcd to the custody of the IlJoiteti States Bureau of Prisons to bc imprisoned for
a total term of TIME SERVED as to Count One of the I~lclictnlent.




- The court makes the following reconunendations to the Bureau of Prisons:



     The defendant IS rsm~ndedto the custody of the United Statcs h4arshal.
- The clefendant shall sur~mdcrto the Lnited States blasshal fos this district.

            - at - a.m.!'p.ni. on -.
            - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

            - before 2 p.m. on -.
            - as notified by the United States h~larshal.
            - as notilied by thc Probation or Prctrial Serviccs Oftice.




            I have e x e c ~ ~ t ethis
                                   d judgment as follows:




- at                                                                      , with a certified copy of this judgment.



                                                                                   United Slates Marshal

                                                                           By:
                                                                                            Deputy United States hlarslial
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A 0 245B (Rev. 06/05) Shcct 3 - Supervised Release (Judgment in a Csiminal Case)
Dcfendant:           GIYO PUCCIO                                                                                     Jitdgment - Pagc 3of 6
Case No.:            8:05-cr-420-T-30TBM
                                                            SUPERVISED RELEASE

           U p o n release f r o m imprisonnlent. t h e d e f e n d a n t shall b e o n supervised rclcase f o r a term of THREE: (3) YEARS as to
C o u n t O w o f t h e Inrlictrnent.

         T h e defeildant must report to the probation office in the district to which the d e l t n d a n t is released withill 72 h0~11.so f rclease li-om
the custody o f the Bureau o f Pi-isons.

T h e defendant shall not cornn~itanother federal, state, or local crime. The defendant shall not unla\vfully possess a controlled substance.
T h e defendant shall t-efr:lin from any unlau,lill use o f a controlled substance. The defcnclant shall submit to one dntg test within 15 da)-s
o f release from impriso~inlentand at least two periodic drug tests thereaftct.. :IS determined by the court.

          T h e defendant sllall not possess a f ~ e a r n destructive
                                                           l           device, o r any other dangerous weapon.

          T h e defendant shall cooperate in the collection o f DNA as directed by the probalion officer.

            If this judgment i n ~ p o s e sa fine or restitution it is a condition o f supervised rclease that the defendant pay in accordance with the
            Schedule of' Payments shect o f this judgment.

            Thc defendant must comply with the standard conditions that have been adopted b y this court as well a s with any additional
            conditions on the attached page.

                                              STANDARD CONDITIONS OF SCPERVISION
            the defendant shall not leavc the judicial district without the permission of the court or probation officcr;

            the dcfcnd:in: shall report to the probation offices and shall submit a trutliful and complete written rcport ivithin rhc first file d,iys of c x h
            month;

             the defendaiit shall answcr tri~thfiillya11 inquiries by the probation officer and follow the tnstruct~onsof the probation officer;

             the defendant shall support his or her dependents and meet other faniily responsibilities;

             the defendant shall work regularly at a lawful occupation, unless excuscd by the probation officer for schooling, training, or other
             acceptable reasons;

             the dcfmdant shall notify rhc probatio~:officer at least tcn days prior to an). change in residence or employment;

             the defendant shall I-efrain from excessive use of alcohol and shall not purchase. possoss, use: distribute, or adniintstcr any controlled
             s~tbstanceor any paraphernalia related ro any controlled substances, except as prescribed by a physictan;

             the defendant shall not fi-equcnt places where controlled substances are illegally sold, used, distributed, or administered;

             the defendant shall not associate with any persons engaged in criminal actiwty and shall not associato with any person convicted of a
             felony, unless granted permission to do so by the probation officer:

             the defcndmt shall pcrniit a probation of!iccr to visit hitn os Iierrtt any timc at homc or clse\vhc~cand shall pc~.ni~t
                                                                                                                                   contiscatton ol';m\
             contraband obscr\xi in platn \ ~ c wof the probat~onotTcer;

             the defendant shall notify the probation officer within scventy-two hours of bcing arrested or questioned by a law cnfurcelncnt officcr;

             h e defendant shall not entcr into any agreement to act as an informer or a special agcnt of a law enforcement a y i c y ij:irhout thc
             permission of the court; and

             :is directed by the probation officer, the defendant shall notify third partics of risks that may be occasioned by the defendant's criminal record
             or personal history or ~11~11-acreristics  and shall pestnit rl~cprobation ol'ticcs to m:ke such notificarions and to coritlim the clcrcndant's
             compliance \ w t h such notification rcquirctiicnt.
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A 0 245B (Rev. O o i ( ~ 5 )Sliect 3C - Supervised Release (Judgtncnt in a Criminal Casc)

Defendant:           G I N 0 PLrCCIO                                                                  J~rdgmcnt- Page -1of
Case No.:            8:05-cr-420-T-30TBM

                                            SPECIAL CONDITIONS OF SUPERVISIOY

          The defendant shall also comply with the follo\ving additional conditions of s~~pcrvised
                                                                                                release:


X
-         The defendant shall cooperate in the collection of DNA as directed by the probation officer

X
-         The mandatoiy drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes I-andom
          dlug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judynent in a Criminal Casc)

Defendant:          G I N 0 PUCCIO                                                                        Judgment - Page 5 of
C'ase yo.:          8:05-~1--420-T-,?OTB~l

                                          CRIMIYAL MONETA4RYPENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments 011 Sheet 6.
                            Assessment                            Fine                           Total Restitution

          Totals:           $1 00.00                              Waived                         NI-4


-         The dete~minationof restitution is defersed until         .         Ail .41?zedctlJzldgmelrt i~ 0 Cri/uimd CCISP
                                                                                                                         ( A 0 235 C ) \iril 1
          be entered after such determination.

-         The defendant must make restitution (including co~nmunitysestitution) to the I'ollocving payees in the a~nuurillisted
          belo\\;.
          If the defe~idant~naltesa partial payment, each payee shall receive an approsinlately propostioned payment, i~nless
          specified otlier~visei l l the priority order or percentage paymcnt c o l ~ u mbclow. Ilo\veves, pi~rsuantto 18 LJ.S.C. $
          3664(i), all non-federal victims must be p u d before the Uiiitcd States.


Name of Payee                                  Total Loss*                    I<estitutioil Ordered               Priority or Pel-centare




-         I<estitution amount orclered pursuant to plea agreement S
-         The defendant nlust pay interest on a fine or restitution of more than SZ.500. unless the restihltion or fine is paid in full
          before the fifteen111 day after the date of the judgment, pursuant to 18 L1.S.C:. tj 3612(f). All of h e payncnt options on Sheet
          6 may be subject to penalties l'or delinquency and dcfhult, pursuant to 18 U.S.C. $ 36 12(g).

-         The court deternilled that the defendant does not have the ability to pay interest and it is ordered that:

         -          the interest requirement is waived for the - fine - restihltion.
         -          the interest requirement for the - fine             restihition is modilied as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 1 1OA, and 1 13A of Title 1S for the otfenses committed
on or after September 13. 1994, but before April 23, 1996.
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A 0 2 4 B (Rev 06!'05) Shect 6 - Schcdulc of Paynenrs (.Judgment in a Criminal Case)

Defendant:         GlKO PUCClO                                                                                Judgment - Page          0 1 . 6
Case Yo.:          S:05-cl--420-T-30TBh4



                                                      SCHEDULE OF PAWV ENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follo\vs:



                              -not latei- than                   , or
                              - in accordance - C, - D, - E or - F below; 01-
B.        -         Payment to begin inirnediately nay be combined with -C, -D, or                                 F below): or
                    Payn~entin equal                 ( e g . weekly, monthly, quarterly) installments of $          over a period
                    of         (e-g., months or years), to c o ~ ~ ~ m e n c c   days (e.g.. 30 or 60 days) after the date of t h ~ s

D.        -         Payment in equal               (e.g., weekly, nionthly, q~larterly)installn~entsof R           over n pcslod o f
                                . (e.g.. ~nontlisor years) to c o ~ l ~ r n e l ~ c e      (e.g. 30 os 60 clays) after sclcase fio~n
                    imprisonment to a term of supel-vision; or
E.        -         Payment during the te1-111 of supervised relcase will conmcnce within               (e.g., 30 or 60 days)
                    after release from imprisonment. The court will set the payn~cntplan based on an assessment of the
                    defendant's ability to pay at that timc, or
F.        -         Special instl-~~ctions
                                        regarding the paylnent oFcriinina1 monetary penalties:




Unless the court has expressly ordered othenvisc: if this judgn~cntimposes in~prisonment.payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those paymenls luadc thsough the I.ederal
        of Prisons' Inmate Fina~icialResponsibility Progsam. are made to the clerk of the court.
13~1rea~1
The defendant shall receive csedit for all payments previously made toward any criminal monctary pcnaltics iniposcd.

-         Joint and Sevcral
        Defendant and Co-Defendant Names and Case Numbers (including defendant null~ber),l'otal Amount. Joint and
Several Amount: and con-esponding payee, if appropriate:


-         The defendant shd 1 pay the cost ol'prosec.ution.
-         The defendant shal 1 pay the following court cost(s):
X
-         The defendant shal 1 forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof. subject to forfeit~~re.
                                                   which are in the posszssion or control of the defendant or the defendant's
nominees.
Payments shall bc applied in the t'ollo\~.i~ig order: ( 1 ) assessment, ( 2 ) restitl~tionprincipal, ( 3 ) restiriitio~~
                                                                                                                       ~nrel-cst.( 4 ) fine p~-~ni~p;iJ.
                                                                                                                                                    ( 5I
h e interest, (6) conlniilnity restitution. (7) penalties. and ( 8 ) costs, including cost ol'p~usecutionand court costs.
